         Case 1:22-cv-00481-CJN Document 106 Filed 07/26/22 Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA, et al.,

        Plaintiffs,

                           v.
                                                                Civil Action No. 1:22-cv-0481 (CJN)
 UNITEDHEALTH GROUP INCORPORATED
 and
 CHANGE HEALTHCARE INC.,

        Defendants.



JOINT STATUS REPORT AND PROPOSED ORDER FROM NON-PARTY AVAILITY,
  L.L.C. AND DEFENDANTS REGARDING POTENTIAL USE OF CONFIDENTIAL
                       INFORMATION AT TRIAL

       Non-Party Availity, L.L.C. (“Availity”) and Defendants UnitedHealth Group, Inc.

(“UHG”) and Change Healthcare Inc. (“Change”), pursuant to the Court’s Minute Order (July 22,

2022), have met and conferred regarding concerns over the use of Availity’s Confidential

Information at trial. Availity and Defendants have come to an agreement, as identified herein, and

respectfully submit this joint status report and proposed order which resolves Availity’s pending

Motion Pursuant to the Court’s Protective Order, Dkt. 86-1, (the “Availity Motion”) for the Court’s

consideration.

       1.        Treatment of Defendants’ Trial Exhibits Reflecting Availity’s Confidential Infor-

mation. The 31 documents identified as Availity Documents in the Availity Motion (the “Availity

Documents”), shall be sealed from the public record. To the extent that any party wishes to use or

refer to any of the Availity Documents in open court it shall use only fully redacted versions of the

Availity Documents and do so pursuant to the procedures described in the Stipulated Order on the

Use of Confidential Information at Trial, Dkt. 94 ¶ 5.
         Case 1:22-cv-00481-CJN Document 106 Filed 07/26/22 Page 2 of 3




       2.      Treatment of Ashok Chennuru’s Testimony. The following portions of the deposi-

tion testimony of Ashok Chennuru shall be sealed from the public record and shall not be aired or

otherwise referred to in open court: the ownership percentage numbers contained at pages 183:24,

184:1, 184:5, 184:10, and 184:16; and the complete testimony designated at pages 195:25, 196:1-

2, 196:4-9, 196:14-17, and 197:7-12. In the event that any party changes its designations on pages

183 through 214 of Mr. Chennuru’s deposition, Defendants will provide notice of any designations

and counter-designations to Availity concurrently with the notice provided for in the Joint Sub-

mission Regarding Exhibit Admissibility, Deposition Designations, and Confidentiality Issues

[Dkt. 80] to afford Availity the opportunity to object to any additionally designated testimony on

confidentiality grounds and work with the Parties on a potential resolution of any such objections.

       3.      In light of the foregoing, the Availity Motion is hereby denied as MOOT.




                                                2
       Case 1:22-cv-00481-CJN Document 106 Filed 07/26/22 Page 3 of 3




Dated: July 26, 2022
Respectfully submitted,

  /s/ Craig Primis                                  /s/ David Flugman
Matthew J. Reilly, P.C. (D.C. Bar No.             Amanda Wait (DC Bar No. 982117)
457884)                                           Esha Kamboj (DC Bar No. 1643795)
Craig S. Primis, P.C. (D.C. Bar No. 454796)       NORTON ROSE FULBRIGHT US
K. Winn Allen, P.C. (D.C. Bar No.                 LLP
1000590)                                          799 9th Street NW, Suite 1000
KIRKLAND & ELLIS LLP                              Washington, DC 20001-4501
1301 Pennsylvania Avenue, N.W.                    Phone: (202) 662-4550
Washington, DC 20004                              amanda.wait@nortonrosefulbright.com
Phone: (202) 389-5000                             esha.kamboj@nortonrosefulbright.com
matt.reilly@kirkland.com
craig.primis@kirkland.com                         Jennifer M. Selendy (pro hac vice)
winn.allen@kirkland.com                           David S. Flugman (pro hac vice)
                                                  Bret Matera (pro hac vice)
Charles Louglin (D.C. Bar. No. 448219)            SELENDY GAY ELSBERG PLLC
Justin W. Bernick (D.C. Bar. No. 988245)          1290 Avenue of the Americas
HOGAN LOVELLS US LLP                              New York, New York 10104
555 Thirteenth Street, NW                         Phone: (212) 390-9000
Washington, D.C. 20004                            jselendy@selendygay.com
Phone: (202) 637-5600                             dflugman@selendygay.com
chuck.loughlin@hoganlovells.com                   bmatera@selendygay.com
justin.bernick@hoganlovells.com
                                                  Attorneys for Non-Party Availity,
Attorneys for UnitedHealth Group Inc.             L.L.C.




                                                                    It is SO ORDERED.



Dated: ________________________                             ________________________
                                                            Carl J. Nichols
                                                            United States District Judge




                                              3
